Case 2:05-Cr-20066-BBD Document 24 Filed 07/20/05 Page 1 of 2 Page|D 27

IN THE UNITED sTATEs DISTRICT coURT m By %__ D_c_
FOR THE WESTERN DISTRICT oF TENNESSEE

WESTERN DIVISION 95 JUL 20 AH 52 hs
UNITED STATES OF AMERICA, * nw M_ g]j_g
u.s. comm cost
Plaintiff, * W Of~' T:"\i, MPHS
v. * Cr. No. 05-20066-D
RITA WILLIAMSON, *
Defendant. *

 

ORDER GRANTING DEFENDANT’S MOTION TO TRANSFER

 

Upon motion of the defendant, and without objection by the United States, the defendant’ s
'motion to accept transfer of causes is hereby GRANTED.

This Honorable Court will thereby accept transfer of Ms. Williamson’s pending matter before
the Honorable Samuel H. Mays, styled as Case No. 05-20075, and MS. Williamson’s pending
matters before the Honorable J. Daniel Breen, styled as Case Nos. 05-20076 and 05-20077.

lt is so ORDERED.

This the / 4 day of July 2005.

M
Berm`ce Don d l

United States District Cou.rt Judge

 

ThIs document entered on the docket sheet in co?yance
with F{ule 55 ami!or 32{b) F`HOrP on ' '

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CR-20066 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

